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     Federal Public Defender
 2   Nevada State Bar No. 11479
     BENJAMIN F. J. NEMEC
 3   Assistant Federal Public Defender
     Nevada State Bar No. 14591
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 6   Ben_Nemec@fd.org
 7   Attorney for Jennifer Marie Johnson
 8
 9                        UNITED STATES DISTRICT COURT

10                              DISTRICT OF NEVADA

11
     UNITED STATES OF AMERICA,                     Case No. 2:20-MJ-00698-BNW
12
                  Plaintiff,                       STIPULATION TO CONTINUE
                                                  ORDER
13                                                 STATUS CHECK
           v.
14                                                 (First Request)
     JENNIFER MARIE JOHNSON,
15
                  Defendant.
16
17
18         IT IS HEREBY STIPULATED AND AGREED, by and between
19
     Christopher Chiou, Acting United States Attorney, and Supriya Prasad,
20
     Assistant United States Attorney, counsel for the United States of America, and
21
     Rene L. Valladares, Federal Public Defender, and Benjamin F. J. Nemec,
22
     Assistant Federal Public Defender, counsel for Jennifer Marie Johnson, that the
23
     status check currently scheduled on November 4, 2021 at 1:30 pm, be vacated
24
     and continued to time and date convenient for the Court, but no sooner than sixty
25
     (60) days.
26
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 1        This Stipulation is entered into for the following reasons:
 2        1.    Ms. Johnson needs additional time to complete her requirements.
 3              She has continuously experienced economic hardship since the
 4              beginning of these proceedings and has had difficulty completing
 5              some of the requirements.
 6        2.    The parties, in light of Ms. Johnson’s hardships, the parties need
 7
                additional time to determine if there are any alternative ways Ms.
 8
                Johnson can satisfy her requirements.
 9
          3.    Ms. Johnson is not incarcerated and does not object to this
10
                continuance.
11
          4.    Additionally, denial of this request for continuance could result in a
12
                miscarriage of justice.
13
          This is the first request for a continuance of the status check.
14
          DATED this 4th day of November 2021.
15
16
     RENE L. VALLADARES                       CHRISTOPHER CHIOU
17   Federal Public Defender                  Acting United States Attorney
18
        /s/ Benjamin F. J. Nemec                 /s/ Supriya Prasad
19   By_____________________________          By_____________________________
20   BENJAMIN NEMEC                           SUPRIYA PRASAD
     Assistant Federal Public Defender        Assistant United States Attorney
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          Case 2:20-mj-00698-BNW Document 33
                                          32 Filed 11/05/21
                                                   11/04/21 Page 3 of 3




 1                        UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                      Case No. 2:20-MJ-00698-BNW
 4
                  Plaintiff,                        ORDER
 5
           v.
 6
     JENNIFER MARIE JOHNSON,
 7
                  Defendant.
 8
 9
10
           IT IS THEREFORE ORDERED that the status check currently scheduled
11
     on November 4, 2021 at 1:30 p.m., be vacated and continued to _______________ at
12
     February
     the hour of17, 2021,
                 ___:___  at 1:30 p.m., Courtroom 3A.
                    2022__.m.
13
                             5
14          DATED this ____ day of November 2021.

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16                                          UNITED STATES MAGISTRATE JUDGE
                                                 DANIEL J. ALBREGTS
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